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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                       In re:                       Chapter 11

              AKORN, INC., et al.,                  Lead Case No. 20-11177 (KBO)
                                                    Jointly Administered
                     Debtors.
                                                    Honorable Karen B. Owens


     CERTIFICATION OF LESLIE B. SPOLTORE IN SUPPORT OF MOTION OF
   1199SEIU BENEFIT FUNDS, DC47 FUND AND SBA FUND FOR LEAVE TO FILE
     OBJECTION (DI #553) TO THE DEBTORS’ MOTION TO SELL (DI #18) AND
        CONFIRMATION OF THE DEBTORS’ PLAN (DI #258) UNDER SEAL

I, Leslie B. Spoltore, Esq., Delaware counsel for the moving party, being of full age, submit this

certification in support of the Objectors’ Motion to Seal and state as follows:


        1.      Pursuant to the Protective Order, the Debtors are the Holder of Confidentiality

Rights as defined in Local Rule 9018-1.

        2.      On August 25, 2020, the Objectors file an Objection and exhibits containing

confidential information under seal (DI #553).

        3.      Counsel to the moving Objectors has conferred in good faith with the Debtors’

counsel and reached an agreement concerning what information contained in the Objection (DI

#553) must remain sealed from public view.

        4.      The Objectors and Debtors agree that the following must remain seal from public

view:

             a. Exhibit H (Investor Presentation 4.1.2.3): sealed entirely;

             b. Exhibit I (2020 4+8 Forecast 4.15.3): sealed entirely;

             c. Exhibit J (Bid Summary 4.1.1.2): sealed entirely;

             d. Exhibit O (8-6-19 Board Discussion Materials): sealed entirely;
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             e. Exhibit Q (Director Compensation History 4.7.5): employee names redacted;

             f. Exhibit S (Douglas Boothe Accelerated Bonus Agreement): sealed entirely; and

             g. Objection brief: redaction of references to sealed/redacted material.

        5.        The Objectors and Debtors agree that the remainder of the Objection may be

publicly filed.

        6.        A proposed redacted version of the Objection will be filed under cover of “Notice

of Filing of Proposed Redacted Version of 1199SEIU Benefit Funds, DC47 Fund and SBA Fund

Objection to the Debtors’ Motion to Sell (DI #18) and Confirmation of the Debtors’ Plan (DI

#258).”

        7.        The Court should grant the relief requested in the Motion to Seal.


I certify under penalty of perjury that the above information is true.



                                        Respectfully submitted,
Dated: August 28, 2020
       Wilmington, Delaware
                                            By: /s/Leslie B. Spoltore
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